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                     UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 RETAILER WEB SERVICES, LLC,                        )
 EVOLUTION VERTICAL LLC, and AYR1,                  )
 INC.,                                              )
                Plaintiffs,                         )
                                                    )
           v.                                       ) Case No.: 3:16-cv-00156-B
                                                    ) Judge: Hon. Jane J. Boyle
 TAILBASE, INC.,                                    )
                                                    )
                       Defendant.                   )
                                                    )
                                                    )

                        NOTICE OF APPEARANCE OF COUNSEL

       Notice is hereby given that Adam Wolek enters his appearance in this matter as counsel

for Plaintiffs Retailer Web Services, LLC, AYR1, Inc. and Evolution Vertical LLC for the purpose

of receiving notices from the Court. Mr. Wolek is currently admitted to practice in the United

States District Court for the Northern District of Texas. Mr. Wolek’s contact information is as

follows:

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                             Date Admitted to NDTX: 04/07/2016




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Dated: April 12, 2016                     Respectfully submitted,

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                                          LLC, Evolution Vertical LLC, and All Your
                                          Retail LLC




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                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with L.R. 5.1 on April 12, 2016. As such, this document was served on each party who
is a registered user of ECF. L.R. 5.1(d).

                                                   s/Adam Wolek
                                                   Adam Wolek   .




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